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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

STATE OF FLORIDA,

      Plaintiff,

v.                                           Case No. 3:21-cv-1066-TKW-ZCB

The UNITED STATES OF AMERICA;
et al.,

     Defendants.
____________________________________/

                    FLORIDA’S NOTICE OF FILING EXHIBITS
                   IN OPPOSITION TO SUMMARY JUDGMENT

      Florida gives notice of filing its exhibits in opposition to Defendants’ motion

for summary judgment. A list of the exhibits is below.

                       U.S. Customs and Border Protection Custody and
        Exhibit 1
                       Transfer Statistics FY2020

                       The Biden Plan for Securing Our Values as a
        Exhibit 2
                       National of Immigrants
                       July 1, 2022 Annual Report of Immigration and
        Exhibit 3      Customs Enforcement in Flores v. Garland, C.D.
                       Cal., 2:85-cv-4544
                       U.S. Border Patrol May 21, 2021 Email regarding
        Exhibit 4
                       “HOT TASKER – FMUA Daily Ave”

                       Press Release: CBP Releases August 2022 Monthly
        Exhibit 5
                       Operational Update



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                FY 2021 Budget in Brief, Department of Homeland
   Exhibit 6
                Security
                U.S. Immigration and Customs Enforcement,
   Exhibit 7    Budget Overview – Congressional Justification,
                FY2023
                Department of Homeland Security webpage
   Exhibit 8
                reflecting March 26, 2022 date for Exhibit 7
                U.S. Immigration and Customs Enforcement,
   Exhibit 9    Budget Overview – Congressional Justification,
                FY2022
                U.S. Customs and Border Protection (CBP),
   Exhibit 10
                Overview of the Southwest Border

                Operation Horizon, Concept of Operations,
   Exhibit 11
                November 2021

                Operation Horizon Phase 2, Concept of Operations,
   Exhibit 12
                February 2022

   Exhibit 13   U.S. Border Patrol Processing Pathways

                Department of Justice August 1, 2022 Email
   Exhibit 14
                regarding “FL v. DHS – Follow Up”

                U.S. Border Patrol February 16, 2021 Email
   Exhibit 15
                regarding “ERO Changes”
                U.S. Government Accountability Office September
                2022 Report regarding Challenges and Efforts
   Exhibit 16
                Implementing New Processes for Noncitizen
                Families
                First Deposition of Department of Homeland
   Exhibit 17   Security’s Rule 30(b)(6) designee Tony Barker,
                U.S. Border Patrol
                Second Deposition of Department of Homeland
   Exhibit 18   Security’s Rule 30(b)(6) designee Tony Barker,
                U.S. Border Patrol
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                Deposition of Department of Homeland Security’s
   Exhibit 19   Rule 30(b)(6) designee Robert Guadian, U.S.
                Immigration and Customs Enforcement
                Deposition of Raul Ortiz, Border Patrol Chief, U.S.
   Exhibit 20
                Customs and Border Protection
                Deposition of Corey Price, Executive Associate
   Exhibit 21   Director, Enforcement and Removal Operations,
                U.S. Immigration and Customs Enforcement

   Exhibit 22   Operation Horizon ICE Training Video 1


   Exhibit 23   Operational Horizon ICE Training Video 2

                U.S. Customs and Border Protection Custody and
   Exhibit 24   Transfer Statistics FY2022 (updated with
                September 2022 data)




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                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I certify that on October 24, 2022, a true and correct copy of the foregoing

was filed with the Court’s CM/ECF system, which will provide service to all parties.

                                             /s/ James H. Percival
                                             Deputy Attorney General




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